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Good morning,

Please excuse my absence this morning. There is so much happening and preparing for
today comes with many emotions and memories. I want to begin by saying that I wish I
had the energy to be there with you. My experiences a community organizer and activist
has replayed in my mind throughout the week as the day approached. It is with intention
that we organize people affected by the lack of safety nets in society. The oppressed and
those who are discriminated against have learned to use the system that binds us to
redress situations that have led to state sanctioned violence. In 2020 when voices and
communities came together to commit to changes in how policy allows the policing of
people we saw hope turn into change. The votes were a clear indication that the time for
change and a new bridge of accountability would be possible for Oregonians. This was a
massive and historical moment. To find ourselves only four short years later providing
testimony against a gutted response from elected city leaders only proves to the record
that there was no real understanding or true commitment to the needs of People who have
not benefitted from the American dream of civil liberty. This is a disgrace and will
become a prominent piece in the already problematic and racist history of our state. I’m
asking you to ensure that the amendments made are to support the board and not limit
their ability to serve the public. Please do not allow the city to undercut the will of the
people. So many people who have lost their loved ones have gathered their community
to make a stand. This should mean something to this court. Please hear us and help
make the change we’ve voted for possible. Don’t continue to allow the misogynistic
system and its allure compete with the ability for us to experience life and liberty as
freely as any person has. End it now.

Thank you,

Teressa Raiford (Written Testimony)
